        Case 1:17-cv-02989-AT Document 333 Filed 10/10/18 Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


DONNA CURLING, et al.,                  :
                                        :
                                        :
       Plaintiffs,                      :
                                        :
v.                                      :        CIVIL ACTION NO.
                                        :        1:17-CV-2989-AT
BRIAN KEMP, et al.,                     :
                                        :
                                        :
       Defendants.                      :


                                    ORDER

      The State Defendants’ Motion to Stay (Doc. 320) and the Coalition for Good

Governance Plaintiffs’ Motion for Preliminary Injunction (Doc. 327), among other

matters, are currently pending before the Court. The question of how the Court

should proceed in reviewing the Motion for Preliminary Injunction is closely

connected to the Court’s disposition of the State Defendants’ Motion to Stay

proceedings in this matter, pending the Defendants’ appeal of the Court’s

disposition of immunity issues in its Order of September 17, 2018. (Doc. 309.) For

this reason, the Court directed the Defendants to file a notice regarding whether

the State Defendants wished to rely on their pending Motion to Stay as their

response to the Motion for Preliminary Injunction or alternatively, if all
          Case 1:17-cv-02989-AT Document 333 Filed 10/10/18 Page 2 of 4




Defendants were planning to file a response to the Plaintiffs’ motion.1 (Minute

Order of October 5, 2018.)

       In issuing this Minute Order, the Court anticipated that Defendants might

reasonably contend that the Court should rule on the pending motion to stay prior

to conducting further proceedings as to the Coalition’s preliminary injunction

motion. But the Court also recognized the timeliness issues entailed in considering

the Coalition’s Preliminary Injunction Motion.

       The State Defendants have now filed a seven-page Notice (Doc. 330) in

response to the Minute Order that broadly attacks the Court’s method of

proceeding in this case and then, only on page seven, asks for an extension until

October 16th to respond to the motion for preliminary injunction. Both the tone

of the Notice and its innuendo as to the Court’s motives are not befitting the

excellent counsel in this case, as officers of the Court.2 Knowing full well the quality

and usual professionalism of the State’s counsel, the Court is disappointed that

counsel apparently determined that it was better to proceed in this manner rather

than focus on addressing the substance of the question or issue before them. As

the Court stated at the outset of the September 12th preliminary injunction

hearing, in recognizing the importance of the issues to the parties on all sides, “….

I want to simply say I would genuinely appreciate if all counsel here as [strident]



1 Consistent with the Court’s need to consider these issues on a timely basis, the Court expedited

the time for Defendants’ filing responses.
2 Counsel evidenced a similar, if slightly more muted, approach in its brief in support of its Motion

to Stay.

                                                 2
          Case 1:17-cv-02989-AT Document 333 Filed 10/10/18 Page 3 of 4




and colorful as your argument may be would be as courteous as possible and not

demean the other side …” (Tr., Doc. 307 at 9.) This remains the expectation of the

Court – indeed, its requirement of professionalism of all counsel appearing before

it, whether addressing other parties or the Court.

       The Court’s Minute Order was designed to find out how Defendants

intended to proceed as the Court generally refrains from issuing orders that

presume the defense or position of a party – or invents such for them.3 Having

now heard from both the State and Fulton County Defendants and having

considered its own need to spend additional time likely through next week in

reviewing the parties’ briefing regarding the State Defendants’ Motion to Stay, the

Court rules as follows. The Court will first rule on the State Defendants’ Motion to

Stay (Doc. 320).4 The Court’s resolution of the State’s Motion may result in the

staying or partially staying of the Coalition’s motion. If the Coalition’s motion is

not stayed as a result of the Court’s Order, the Defendants are DIRECTED to file

a response to the Coalition’s Motion within five work days after the issuance of the

Court’s Order on the Motion to Stay.5 Similarly, the timelines for the filing of

responses to the Curling Plaintiffs’ pending Motion to Sever (Doc. 329) are stayed

until the Court issues its ruling on the State Defendants’ Motion (Doc. 320).



3 The State’s assertion in its Notice that the Court should deny the Coalition’s second Motion for

Preliminary Injunction “instanter,” without hearing from Defendants or potentially a reply from
Plaintiffs is inconsistent with this basic principle of fairness. (Doc. 330 at 5.)
4 The Curling Plaintiffs’ Motion for Oral Argument (Doc. 325) as to the Defendants’ Motion to

Stay (Doc. 320) is DENIED.
5 To be explicit, this directive is not intended to suggest the Court has any view at this time as to

the viability or appropriateness of the Coalition’s motion or request for relief.

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 Case 1:17-cv-02989-AT Document 333 Filed 10/10/18 Page 4 of 4




IT IS SO ORDERED this 10th day of October, 2018.



                            ___________________________
                            AMY TOTENBERG
                            UNITED STATES DISTRICT JUDGE




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